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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW JERSEY
                                                   x
 GARY F. PRESTIPINO, on behalf of
 himself and all others similarly situated,

                    Plaintiff,                          CIVIL ACTION NO. 3:15-cv-2131

                                                        Noti’e of Voluntary Dismissal Pursuant to
                                                        Fed. R. Civ. P. 41
 LINCOLN LIFE AND ANNUITY
 COMPANY OF NEW YORK.

                    Defendant.
                                                   x
        Pursuant to Rule 41 (a)( I )(A)(i) of’ the Federal Rules of Civil Procedure, PLaintiff Gary F.

 Prestipino submits this Notice of Voluntary Dismissal witlout prejudice.

                                                       Respectfully submitted,

 Dated: June 24, 2015                  By:             s/ Patrick F. Madden
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                                                        4 ttor neys for Plaintiff




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